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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                    Case No. 1:19-cv-23100-GAYLES/OTAZO-REYES



   COÖPERATIEVE RABOBANK U.A., New York
   Branch, BROWN BROTHERS HARRIMAN &
   CO., BANK HAPOALIM B.M., MITSUBISHI
   INTERNATIONAL CORPORATION, ICBC
   STANDARD BANK PLC, TECHEMET METAL
   TRADING, LLC, WOODFOREST NATIONAL
   BANK, and HAIN INVESTORS MASTER FUND,
   LTD.,
                PLAINTIFFS,
   vs.
   CROWE LLP,
                DEFENDANT.



               PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
                    DEFENDANT’S MOTION TO TRANSFER VENUE




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             Plaintiffs Coöperatieve Rabobank U.A., New York Branch, Brown Brothers Harriman &

  Co., Bank Hapoalim B.M., Mitsubishi International Corporation, ICBC Standard Bank Plc,

  Techemet Metal Trading, LLC, Woodforest National Bank, and Hain Investors Master Fund,

  Ltd. (collectively, “Plaintiffs” or “Lenders”), submit this Memorandum of Law in Opposition to

  Defendant Crowe LLP’s (“Crowe”) Motion to Transfer venue of this action to the United States

  District Court for the Southern District of New York.

                                       STATEMENT OF THE CASE

             This case arises out of faulty and misleading opinions issued by Crowe’s Florida-based

  auditors in connection with their audit of the 2014 and 2015 financial statements of Florida-

  based Republic Metals Corporation (“Republic”). In reliance on those audit opinions, Lenders

  extended more than $200 million in credit to Republic under various loans and metals leases1,

  which are now in default due to Republic’s massive overstatement of its precious metals

  inventory valuations.2 Had Crowe followed Generally Accepted Audit Standards, it would have

  readily detected the misstatements during its audit and Lenders’ losses would have been avoided.

  But Crowe did not and, as a direct result, Lenders have suffered damages in excess of $57

  million.

             Based on Florida’s extensive connections to the case and its jurisdiction over the parties

  and key witnesses, Lenders sued Crowe—under Florida law—on June 24, 2019 in the Circuit

  Court of the 11th Judicial Circuit in and for Miami-Dade County, Florida by filing a complaint

  (the “Complaint”). ECF No. 1-2. Plaintiffs selected Florida precisely because of those




  1
      Complaint ¶ 6.
  2
      Complaint ¶¶ 26, 39.
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  connections to the State and, ironically, for the convenience of the principal witnesses, including

  Crowe’s auditors and Republic’s former management and finance personnel.

          In response, Crowe removed pursuant to 28 U.S.C. §§ 1334(b), 1367, 1441, 1446, and

  1452, which authorize removal of claims “related to” a pending bankruptcy and provide a

  statutory basis for subject matter jurisdiction.3 But the Court’s jurisdiction under these provisions

  is non-exclusive and subject to statutory mandatory and permissive abstention provisions.

          On August 7, 2019, Lenders moved to remand the case to the Florida state court based on

  the application of mandatory abstention under 28 U.S.C. § 1334(c)(2) or, in the alternative,

  permissive or equitable abstention under 28 U.S.C. §§ 1334(c)(1) and 1452(b). ECF No. 7. The

  same day, Crowe cross-moved to transfer the case to the United States District Court for the

  Southern District of New York (“S.D.N.Y.”). ECF No. 8.

          Two issues are presented by Crowe’s motion:

          1. Whether the Court should transfer the case before deciding Lenders’ abstention and

              remand motion (leaving the issue to be decided by the transferee court, the S.D.N.Y.);

              and

          2. Whether Crowe has shown that the balance of convenience factors justifies overriding

              Lenders’ choice of Florida and transferring the case to the S.D.N.Y.

          As shown below, both questions must be answered in the negative.




  3
   Republic and its affiliates filed for bankruptcy under Chapter 11 of the Bankruptcy Code and those proceedings
  have been pending in the United States Bankruptcy Court for the Southern District of New York since November 2,
  2018. See In re Republic Metals Refining Corp., No. 18-13359 (SHL) (Bankr. S.D.N.Y. filed Nov. 2, 2018), now
  captioned as In re Miami Metals I, Inc.


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                                                  ARGUMENT

  I.      Crowe Has Failed to Show That the S.D.N.Y., Rather Than This Court, Should
          Resolve Lenders’ Motion for Abstention and Remand

          Crowe urges the Court to skip over the Lenders’ Motion for Abstention and Remand,

  transfer the case to the S.D.N.Y., and have that court decide whether it must be returned to the

  Florida state court. Not only does this cumbersome procedure make no sense—as it will result in

  needless delay—but it is inconsistent with the principle that a district court should accord priority

  to jurisdictional issues.

          In the standard order of operations, a district court determines its own jurisdiction over

  the controversy and the parties first. See Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 577-

  578 (1999). Abstention, though not technically a jurisdictional issue (it is the decision not to

  exercise jurisdiction), is “treated as jurisdictional” in this context. Steel Co. v. Citizens for a

  Better Env't, 523 U.S. 83, 100 n.3 (1998). A district court should not dismiss on other non-merits

  grounds, such as venue, unless resolving the jurisdictional issue would entail an “arduous

  inquiry.” See Sinochem Int’l Co. v. Malay Int’l Shipping Corp., 549 U.S. 422, 436 (2007).4

          In the “mine run of cases,”5 no “arduous inquiry” is implicated, id., and jurisdiction is

  typically decided first, see, e.g., Birch v. Johnson & Johnson, No. 19-01102-JKO, 2019 Bankr.

  LEXIS 2090, at *6 (Bankr. S.D. Fla. July 9, 2019) (resolving jurisdictional issues “before

  considering motions to transfer venue to … where the underlying bankruptcy case is pending”);

  Clark v. Frontier Airlines, Inc., No. 4:17-cv-452-JEG-RAW, 2018 U.S. Dist. LEXIS 141133, at



  4
    In Sinochem the Court sanctioned dismissal on forum non conveniens grounds when complicated jurisdictional
  challenges were also presented. The Supreme Court has never held that a Court may transfer a case under 28 U.S.C.
  §§ 1404 or 1412 before deciding its own jurisdiction. But lower courts have found this to be permissible by
  extension of the logic of Sinochem. See, e.g., In re LimitNone, LLC, 551 F.3d 572, 577 (7th Cir. 2008).
  5
    “Mine run” is the expression used by Justice Ginsburg, similar to “run of the mill,” meaning a “typical” or
  “unexceptional” case. Both expressions are used in this context by Justice Sotomayor in Octane Fitness, LLC v.
  ICON Health & Fitness, Inc., 572 U.S. 545 (2014).


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   *11-12 (S.D. Iowa Aug. 1, 2018) (considering jurisdiction before transfer where the issues did

   not present the kind of “exceptional case” that might justify a departure from the general rule,

   citing Sinochem); Jian Guo v. ZTO Express (Cayman) Inc., No. 17-cv-05357-JST, 2017 U.S.

   Dist. LEXIS 211181, at *10-13 (N.D. Cal. Dec. 22, 2017) (granting motion to remand and

   denying motion to transfer as moot); GeoSonics, Inc. v. Aegean Assocs., Civil Action No. 2: 14-

   cv-908, 2014 U.S. Dist. LEXIS 179019, at *3-4 (W.D. Pa. Dec. 31, 2014) (addressing

   jurisdictional issue before transfer of venue); Gib. Trading Corp. v. PMC Specialties Grp., Inc.,

   851 F. Supp. 2d 437, 440-41 (E.D.N.Y. 2011) (deciding remand before transfer); Tidewater

   Lodging Grp., Inc. v. Kolter Cmtys, Mgmt., LLC, No.08-25694-BKC-RBR, 2009 Bankr. LEXIS

   926, at *4 (Bankr. S.D. Fla. Apr. 3, 2009) (considering question of abstention and remand before

   transfer); Zavanna, LLC v. RoDa Drilling Co., No. 4:09-cv-022, 2009 U.S. Dist. LEXIS 102726,

   at *46-50 (D.N.D. Sep. 14, 2009) (considering remand before transfer); Ni Fuel Co. v. Jackson,

   257 B.R. 600, 611-12 (N.D. Okla. 2000) (same).

          This case is in the “mine run.” The abstention question is simple and straightforward,

   with the test for mandatory abstention presenting five factors, which the Lenders have shown to

   be either undisputed or readily resolvable in their favor. See ECF No. 7 at 3-4.

          Without even mentioning Sinochem’s “arduous inquiry” standard, much less applying it,

   Crowe string-cites four cases that supposedly support its position that this Court should transfer

   the action before deciding the Lender’s abstention and remand motion. See ECF No. 8 at 3-4. In

   fact, none of these exceptional cases is on point.

          In three of the four cases cited by Crowe, the defendant in the state court action was also

   the debtor in bankruptcy, and the resulting entanglement of legal and factual issues made the

   determination of abstention and remand difficult, if not impossible, to resolve by any court other




                                                    4
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   than the one administering the bankruptcy. See El Paso E&P Co., L.P. v. CMV Joint Venture,

   No. 7:09-cv-01621, 2010 WL 11579728 (N.D. Ala. July 12, 2010) (abstention question

   impossible to resolve because of mandatory stay on state court action against debtor imposed by

   bankruptcy court); George Junior Repub. in Pa. v. Williams, No. 2:07-cv-04537, 2008 WL

   763304, *6 (E.D. Pa. Mar. 19. 2008) (bankruptcy court had “overwhelming interest” in state

   court action against debtor when adversary proceeding in bankruptcy between state court

   codefendants involved same factual and legal issues); In re Wedlo, 212 B.R. 678 (Bankr. M.D.

   Ala. 1996) (first state court defendant brought crossclaim against second state court defendant,

   who then filed for bankruptcy). Here, there is no entanglement as the debtor is not the defendant

   in this case.

           The fourth case cited by Crowe, Waleski v. Montgomery, No. 3:18-cv-01144, 2018 U.S.

   Dist. LEXIS 208727 (M.D. Pa. Dec. 10, 2018), did not entail a question of mandatory abstention

   under 28 U.S.C. § 1334(c)(2) at all; the state court action was a suit for professional malpractice

   brought by a bankruptcy creditor against the law firm that had represented him in a bankruptcy

   proceeding that had concluded some years before. Id. at *13. Pointing out that “the bankruptcy

   court expressly retained jurisdiction over the very claims that Waleski seeks to bring here,” the

   court logically concluded that transfer to that court was appropriate. Id.

           Crowe’s failure to show that resolving the Lenders’ abstention and remand motion would

   require an “arduous inquiry” is fatal to its request that the Court transfer before resolving the

   straightforward jurisdictional issues. Accordingly, Crowe’s request that the Court transfer the

   case before deciding the Lenders’ motion must be denied. Furthermore, as shown in the Lenders’

   motion, abstention and remand is justified and mandated. ECF No. 7.




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   II.     Crowe Has Failed to Carry Its Burden to Show that Transfer is Appropriate

           Because the Court should abstain and remand this action back to state court, the Court

   need not even consider Crowe’s Motion to Transfer under 28 U.S.C. §§ 1404(a) or 1412. If it

   does, however, the motion must be denied because nearly all the “convenience” factors favor

   keeping the case in Florida. Most significantly, the Lenders chose this forum; the key witnesses

   (both at Crowe and Republic) are located here; the key operative events (i.e., the audits that form

   the basis of the claims) occurred here; and Florida’s law applies. Those factors dramatically

   outweigh the mere fact that some Lenders have offices in New York6 and that the bankruptcy of

   Crowe’s audit client, nonparty Republic, is pending in New York.

           A.       Crowe Has the Burden of Proof

           The burden of establishing that transfer of the case is appropriate rests with the movant,

   Crowe. In re Ricoh Corp., 870 F.2d 570, 573 (11th Cir. 1989); Watson v. Cmty. Educ. Ctrs., Inc.,

   No. 2:10-cv-00778-36SPC, 2011 U.S. Dist. LEXIS 89520, at *6 (M.D. Fla. Aug. 11, 2011). In

   its section describing the “Legal Standards,” Crowe emphasizes the Court’s discretion, but never

   once acknowledges that it has the burden of proof. See ECF No. 8 at 7-8.

           B.       The Lenders’ Choice of Forum Favors This Court

           It is no surprise that a case of this magnitude allows for multiple potential choices under

   the federal venue rules. Thus, assuming jurisdiction, Crowe may be correct in saying that the

   Lenders could have brought the case in S.D.N.Y. See ECF No. 8 at 9. But that is neither the

   exclusive venue option, nor is it the one selected by the Lenders.

           Under 11th Circuit precedent, a “plaintiff’s choice of forum should not be disturbed

   unless it is clearly outweighed by other considerations.” Robinson v. Giarmarco & Bill, P.C., 74


   6
     Among the Lenders, several are foreign banks with principal offices in New York; two are located in Texas; one is
   located in the United Kingdom.


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   F.3d 253, 260 (11th Cir. 1996); Cont’l Motors, Inc. v. Jewell Aircraft, Inc., 882 F. Supp. 2d

   1296, 1313 (S.D. Ala. 2012). This factor carries additional weight, in that Florida is not only the

   Lenders’ chosen forum, but also is the location where the key operative events took place. Curry

   v. HSBC Holdings, No. 6:14-cv-1099-Orl-37GJK, 2014 U.S. Dist. LEXIS 134650, at *4 (M.D.

   Fla. Sep. 23, 2014) (plaintiff’s choice given “great weight” where selected forum is place where

   events occurred).

          Citing Cellularvision v. Alltell Corp., 508 F. Supp. 2d 1186, 1189 (S.D. Fla. 2007),

   Crowe claims that the Lenders’ choice is entitled to “minimal deference” because Florida is not

   their home forum. See ECF. No. 8 at 14. Not so. Deference is, of course, at its maximum when a

   plaintiff chooses its home forum. But even when a plaintiff chooses a forum away from home, its

   choice is still entitled to “some weight” when the action is brought in a forum that has a

   “meaningful and legitimate connection to the parties and operative facts.” Andersons, Inc. v.

   Enviro Granulation, LLC, No. 8:13-cv-3004-T-33MAP, 2015 U.S. Dist. LEXIS 56883, at *17

   (M.D. Fla. Apr. 30, 2015); cf. Weintraub v. Advanced Corr. Healthcare, Inc., 161 F. Supp. 3d

   1272, 1284 (N.D. Ga. 2015) (“[P]laintiff’s choice of forum is given great deference when

   considering a motion to transfer, and this is especially true where the operative facts giving rise

   to the action occurred in the chosen forum.”). A fair reading of the case law shows that “minimal

   deference” applies when a plaintiff files suit in a venue that has no meaningful connection to the

   dispute, which is not the case here. Moreover, “[w]hatever judicial formulation is invoked in a

   particular case [concerning the weight to be accorded plaintiff’s choice], a motion to transfer

   under Section 1404(a) should not be granted lightly.” Wright & Miller, 15 Fed. Prac. & Proc.

   Juris. § 3848 (4th ed.).




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          The upshot of this factor is twofold: first, to transfer, Crowe must establish that the other

   factors “clearly outweigh” the Lenders’ choice of venue; and, second, that the Lenders’ choice,

   while not entitled to the utmost weight, remains a substantial factor on the scale.

          C.      The Operative Events Occurred in the Southern District of Florida

          Another important factor in considering transfer to another venue is the locus of operative

   facts. Manuel v. Convergys Corp., 430 F.3d 1132, 1135 n.1 (11th Cir. 2005). This factor strongly

   favors retaining the case in Florida. The Lenders’ claims arise out of the grossly negligent audits

   performed by Florida-based auditors of a Florida-based company. See generally Seagoing Unif.

   Corp. v. Texaco, Inc., 705 F. Supp. 918, 936 (S.D.N.Y. 1989). In cases against auditors or arising

   out of audited financials, courts have routinely held that the locus of operative facts occurred

   where the audits were performed. See, e.g., In re Nematron Corp. Sec. Litig., 30 F. Supp. 2d 397,

   404 (S.D.N.Y. 1998) (operative facts for securities fraud case against KPMG were where audits

   were performed); Bankers’ Bank Ne. v. Ayer, No. 3:11cv262(JBA), 2012 U.S. Dist. LEXIS

   47014, at *27 (D. Conn. Mar. 30, 2012) (operative facts where audits were performed); P.E.A.

   Films, Inc. v. MGM, No. 14-cv-7263 (JSR), 2014 U.S. Dist. LEXIS 169161, at *5-6 (S.D.N.Y.

   Nov. 11, 2014) (same).

          To justify transfer, Crowe tries to list every New York nexus that it can muster—whether

   or not they embody “operative facts.” But it is a futile exercise, as the factual connection to New

   York pales by comparison to Florida, where the auditors and the audit client resided and where

   the audit work was performed. Crowe notes that some Lenders have main offices in New York,

   but this connection is equivocal in that other Lenders are located elsewhere, such as England and

   Texas. Crowe also emphasizes that Republic is in bankruptcy in New York, but the bankruptcy

   was filed years after the misconduct, in November 2018, see ECF 8-1, so its pendency is not an




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   operative fact. See Wyandot Nation of Kan. v. United States, 115 Fed. Cl. 595, 598 (2014) (citing

   Black’s Law Dictionary 1201 (9th ed. 2009)) (“[F]acts are operative if they are relevant to

   establishing a claim.”). Finally, Crowe claims that some of the audit work was conducted in

   New York, but it provides no evidence to support this assertion, nor any details as to the nature

   of the supposed work performed from its New York office as compared to its Florida offices.7

            It would be unusual if a case involving auditor misconduct on the scale that occurred here

   could ever be confined to a single venue. But if the venue options were to be ranked by their

   connection to the underlying facts, Florida is unrivaled in the top spot.

            D.       Florida Is the Most Convenient Forum for Witnesses

            Witness convenience is of primary importance to a transfer analysis. Nat’l Tr. Ins. Co. v.

   Pa. Nat’l Mut. Cas. Ins. Co., 223 F. Supp. 3d 1236, 1242 (M.D. Fla. 2016); Elite Flower Servs.

   v. Elite Floral & Produce, LLC, No. 13-cv-21212-UU, 2013 U.S. Dist. LEXIS 197267, at *13

   (S.D. Fla. June 17, 2013); Holmes v. Grubman (In re Holmes), 306 B.R. 11, 15 (Bankr. M.D. Ga.

   2004). Crowe’s argument on witness convenience focuses on the location of the Lenders (only

   some of whose witnesses are in New York and who, in any event, voluntarily chose to file in

   Florida), rather than the nonparty witnesses, whose convenience is the correct focal point for this

   element. LaPenna v. Cooper Tire & Rubber Co., No. 2:10-cv-1018-MEF, 2011 U.S. Dist.

   LEXIS 73447, at *13 (M.D. Ala. July 7, 2011).

            A movant requesting a transfer of venue must submit a list of witnesses, together with a

   description of what their testimony might be. J.I. Kislak Mortg. Corp. v. Conn. Bank & Tr. Co.,

   N.A., 604 F. Supp. 346, 348 (S.D. Fla. 1985). Crowe does not even try to make this showing,



   7
     Crowe also tries to diminish its own connection to Florida by mentioning its own headquarters in Illinois. But
   Crowe’s headquarters has no factual significance to audits performed by its Florida offices; nor does it justify a
   transfer to New York. See ECF No. 1-2 ¶ 21.


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   which is fatal to its convenience-of-witness position. Conn. Indem. Co. v. Palivoda, No. 8:04-cv-

   1044-T-24MSS, 2004 U.S. Dist. LEXIS 28709, at *15-16 (M.D. Fla. Aug. 23, 2004) (denying

   transfer motion for failure to list witnesses); Wright & Miller, 15 Fed. Prac. & Proc. Juris. § 3851

   (4th ed.) (“If the moving party merely has made a general allegation that necessary witnesses are

   located in the transferee forum, without identifying them and providing sufficient information to

   permit the district court to determine what and how important their testimony will be, the motion

   to transfer should be denied.”). Indeed, Crowe does not identify a single nonparty witness who

   would be inconvenienced by Florida as compared to New York.

              Crowe tries to make much of the fact that certain Crowe witnesses “have already been

   subpoenaed in the bankruptcy proceeding in the Southern District of New York.” ECF. No. 8 at

   12. But Crowe never connects the dots to show how this favors venue in New York. Given the

   breadth and consequence of Crowe’s misconduct, Crowe’s Florida personnel ought to expect to

   testify more than once and possibly in more than one venue. At least in this case, if the Crowe

   witnesses live and work in Florida, as is alleged in the Complaint, Florida will be more

   convenient than New York. Crowe never explains why it wants to ship its own people to New

   York more than once.

              In any event, the convenience of party witnesses is not the focus of the witness

   convenience factor. More important is the convenience of the nonparty witnesses, namely

   Republic’s former management and finance personnel, who worked out of Republic’s offices in

   south Florida and who are anticipated to have personal knowledge of crucial facts in this case.8

   Thus, this factor weighs in favor of venue in Florida and against transfer.




   8
       See Complaint ¶ 17.


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           E.       Florida Law Governs

           The law to be applied is also a factor to be considered under 28 U.S.C. § 1404(a). This

   factor also favors retention of the case in Florida.

           Under its choice-of-law rules, Florida applies the “most significant relationship” test to

   tort claims. See Bishop v. Fla. Specialty Paint Co., 389 So. 2d 999 (Fla. 1980) (adopting “most

   significant relationship” test for torts as articulated by Restatement 2d Conflict of Laws § 145).

   Under this test, Florida law applies.

           The case involves tort claims arising out of audit services provided by public accountants

   licensed and certified under Florida law, providing audit services to a Florida client, from their

   Florida offices; no state other than Florida has a comparable relationship to the dispute. See, e.g.,

   FDIC v. Crowe Horwath LLP, No. 17 CV 04384, 2018 U.S. Dist. LEXIS 105880, at *30-31

   (N.D. Ill. June 25, 2018) (applying Iowa law to audit performed in Iowa); FDIC v. Deloitte &

   Touche, 834 F. Supp. 1129, 1134 n.3 (E.D. Ark. 1992) (applying Arkansas law to case arising

   out of Arkansas auditor work for Arkansas company); Baena v. KPMG LLP, 389 F. Supp. 2d

   112, 117 n.4 (D. Mass. 2005).

           Without citation to a single case, or even to Florida’s choice-of-law provisions, Crowe

   declares that it is “unclear whether Florida law applies at all.” ECF 8 at 14. Crowe implies that

   the laws of Illinois,9 New York, New Jersey, Texas and London might apply, and it then

   concludes that this ambiguity is a “factor … [that] weighs in favor of transfer.” ECF 8 at 14. But

   even if uncertainty existed, Crowe’s conclusion would not follow. An unanswered question




   9
    Crowe emphasizes that its engagement agreement with Republic contains an Illinois choice-of-law clause. See
   ECF No. 8 at 13. This is of no moment. The contracts between Crowe and Republic are not binding on the Lenders,
   who are not signatories, and they are not relevant because the claims asserted are in tort.


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   about the applicable law does not favor transfer to any particular jurisdiction; it would be a

   neutral factor, which does not help Crowe carry its burden.

              F.       Trial Efficiency and Interests of Justice

              Crowe’s assertion that this case would be resolved more efficiently in S.D.N.Y. alongside

   the pending Republic bankruptcy proceeding does not withstand scrutiny.

              First, Crowe notes that the Southern District of Florida is “one of the busiest, congested

   district courts in the United States.” ECF No. 8 at 15. That may be, but the Lenders have not

   chosen to litigate this matter in the Southern District of Florida: the suit was filed in state court

   and Crowe removed it to this Court. Having picked the restaurant, Crowe cannot now complain

   about the service.

              Second, Crowe refers to congestion in the Southern District of Florida only, without

   addressing relative congestion in the proposed transferee court: the S.D.N.Y. In fact, a straight

   comparison between the two District Courts using publicly available federal caseload statistics

   from the Administrative Office of the United States Courts10 shows that the S.D.N.Y. is more

   congested:

                               % of Cases Over 3 Years Old           Median Mos. Filing to Trial (Civil Only)

    SDNY (3/31/19)                           18.8%                                      35.1 mos.

    SD Fla (3/31/19)                           2%                                       17.7 mos.



              Third, Crowe warns that without a transfer, this Court and the S.D.N.Y. “will be litigating

   overlapping issues of law and fact and presiding over redundant discovery,” including

   “duplicative and overlapping deposition and document production demands.” ECF 8 at 15-16.



   10
        See https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0331.2019.pdf


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   These concerns, however, are just a parade of horribles, which can be mitigated or eliminated

   through intelligent coordination by the parties and case management.

           Fourth, Crowe makes much of its supposed right to pursue the debtor, Republic, for

   “indemnification or contribution.” ECF No. 8 at 3. But it provides no proof that it timely filed

   such a claim in the bankruptcy proceeding. Indeed, it has not. See List of Creditors, In re Miami

   Metals I, Inc., No. 18-13359 (SHL) (Bankr. S.D.N.Y filed Nov. 2, 2018) (report available on

   PACER). Per order of the bankruptcy court, the deadline for Crowe to make such a claim was

   April 12, 2019. See Order Establishing Deadline for Filing Proofs of Claim and Approving the

   Form and Manner of Notice Thereof at 2, In re Miami Metals I, Inc., No. 18-13359 (SHL)

   (Bankr. S.D.N.Y Mar. 1, 2019), ECF No. 694; see also Bender v. Lancer Mgmt. Grp., LLC, 523

   Fed. Appx. 554, (11th Cir. 2013) (explaining that contingent, unaccrued rights to payment under

   indemnity agreements entered into prior to bankruptcy are “claims” within the meaning of 11

   U.S.C. § 101(5) and “[t]hat the claim remained contingent, unliquidated and unmatured at the

   time of the filing of the chapter 11 petition is immaterial to [creditor's] obligation to file a timely

   proof of claim under the Bankruptcy Code”).

           But even if Crowe could assert an indemnification or contribution claim in the

   bankruptcy against the debtor, it does not follow (and Crowe has not explained) that litigating

   those claims and this suit in different fora presents a genuine risk of inconsistent results. At most,

   it means that any determination of Crowe’s right to indemnity should be deferred until Crowe’s

   primary liability to the Lenders is resolved. Sequencing the cases in this manner would not be

   unusual. Indemnity and contribution claims are often litigated after a determination of the

   primary liability of the indemnified party, and the law allows for that. Under Illinois law, for

   instance, an indemnity claim can be brought in a separate action after primary liability is




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   adjudicated, and the statute of limitation does not even start until the indemnified party settles or

   has a judgment rendered against it. See Forty-Eight Insulations, Inc. v. Johns-Manville Prods.

   Corp., 472 F. Supp. 385, 393 (N.D. Ill. 1979); United States v. Saint Louis Univ., No. 07-CV-

   0156-DRH, 2007 U.S. Dist. LEXIS 84915, at *12-14 (S.D. Ill. Nov. 16, 2007) (contribution may

   be pursued in separate action). New York is in accord for both indemnity claims, McDermott v.

   New York, 50 N.Y.2d 211, 216, 428 N.Y.S.2d 643, 645 (1980), and contribution claims, Sommer

   v. Fed. Signal Corp., 79 N.Y.2d 540, 556-57, 583 N.Y.S.2d 957, 964 (1992).

           G.      The Neutral Factors

           As Crowe concedes, many of the other, albeit lesser, recognized factors are neutral. Since

   Crowe bears the burden of proof to justify transfer, neutrality works against it.

   III.    28 U.S.C. § 1412 Is Not Available And, In Any Event, Does Not Change the Analysis

           In the alternative, Crowe seeks to transfer the case to S.D.N.Y. pursuant to 28 U.S.C. §

   1412, which permits a district court to “transfer a case or proceeding under title 11 to a district

   court for another district in the interest of justice or for the convenience of parties.”

           This case is not a case “under title 11.” It is, at most, a case related to a pending

   bankruptcy. Plaintiffs’ claims exist outside of bankruptcy and are based on Florida common law

   and statutory law. Because “related to” cases are not included in 28 U.S.C. § 1412, that provision

   is not an appropriate vehicle for transfer. See Jones Searcy v. Knostman, 155 B.R. 699, 706-07

   (S.D. Miss. 1993); In re Thomson McKinnon Secur., Inc., 126 B.R. 833, 834-35 (Bankr.

   S.D.N.Y. 1991); but see Chex Sys., Inc. v. DP Bureau, Ltd. Liab. Co., No. 8:10-cv-2465-T-

   33MAP, 2011 U.S. Dist. LEXIS 130392, at *5 n.1 (M.D. Fla. Nov. 10, 2011) (“Courts within the

   Eleventh Circuit consider 28 U.S.C. § 1412 to be the appropriate authority under which a federal

   court may transfer a proceeding related to a bankruptcy proceeding to the district in which the

   bankruptcy court sits”).


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          But even if § 1412 applied, it makes little difference to the analysis. A court should

   consider the same fundamental convenience factors under § 1412 as it does under § 1404. ICICI

   Bank, Ltd. v. Essar Glob. Fund Ltd., 565 B.R. 241, 249 n.3 (S.D.N.Y. 2017); Chex Sys., Inc.,

   2011 U.S. Dist. LEXIS 130392, at *5 n.1 (citing In re Emerson Radio Corp., 52 F.3d 50, 55 (3d

   Cir. 1995)); cf. Hampton-Stein v. Erwin I. Katz, Ltd., No. 09-80798-CIV-COHN/SELTZER,

   2009 U.S. Dist. LEXIS 130425, at *7-8 (S.D. Fla. July 5, 2009) (applying the factors for transfer

   under §§ 1404 and 1412 interchangeably).

                                            CONCLUSION

          For the reasons stated above, Defendant Crowe’s Motion to Transfer should be denied.



    Dated: August 21, 2019                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 21st day of August 2019, I electronically filed the
   foregoing document with the Clerk of the Court using the CM/ECF system. A copy of the
   foregoing document will be served this day on all counsel of record on the Service List below via
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